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16    ZUCKERBERG

17                            UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
19
     LAURA LOOMER, as an individual, et al.,              Case No. 3:22-cv-02646-LB
20
                          Plaintiffs,                    DECLARATION OF EMILY BARNET
21
            v.                                           IN SUPPORT OF CIVIL LOCAL RULE
22                                                       6-2(A) STIPULATION
     FACEBOOK, INC., MARK ZUCKERBERG, in
23   his capacity as CEO of Facebook, Inc. and as an      Hon. Laurel Beeler
     individual, TWITTER, INC., and JACK
24   DORSEY, in his capacity as former CEO of
25   Twitter, Inc. and as an individual,
                          Defendants.
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      CASE NO. 3:22-CV-02646-LB                                    DECLARATION OF EMILY BARNET IN
                                                                 SUPPORT OF CIVIL LOCAL RULE 6-2(A)
                                                                                       STIPULATION
       Case 3:22-cv-02646-LB Document 40-1 Filed 07/14/22 Page 2 of 2




 1          I, Emily Barnet, declare as follows:

 2          1.       I am an attorney at Wilmer Cutler Pickering Hale and Dorr LLP. I represent
 3
     Defendant Facebook, Inc. (now known as Meta Platforms, Inc. or “Meta”) and Defendant Mark
 4
     Zuckerberg in the above-captioned action.
 5
            2.       On July 13, 2022, I emailed counsel for Plaintiffs and counsel for Defendants
 6
     Twitter, Inc. and Jack Dorsey to determine whether Plaintiffs and Defendants Twitter and Jack
 7

 8   Dorsey would stipulate to continuing the initial Case Management Conference currently scheduled

 9   for August 4, 2022 until 45 days after an order denying Meta and Mark Zuckerberg’s or Twitter
10   and Jack Dorsey’s Motion to Dismiss in whole or in part, or as soon thereafter as convenient for
11
     the court. Counsel for Defendants Twitter and Jack Dorsey and counsel for Plaintiffs both
12
     responded that they would be amenable to so stipulating.
13
            3.       Plaintiffs and Twitter previously stipulated and agreed to an extension of time for
14

15   Twitter to respond to the Complaint.

16          4.       A continuation of the initial Case Management Conference until after the Court’s

17   rulings on Meta and Mark Zuckerberg’s and Twitter and Jack Dorsey’s forthcoming Motions to
18   Dismiss the Complaint provide guidance to the parties as to the scope of the issues in the case and
19
     the appropriate contours for discovery is reasonable.
20
            5.       The stipulated continuation will not otherwise affect the schedule of this case.
21

22

23          I declare under penalty of perjury that the foregoing is true and correct.

24          Executed on this 14th day of July 2022 in New York, NY.

25

26
                                                   By:     /s/ Emily Barnet
27                                                         Emily Barnet

28
      CASE NO.   3:22-CV-02646-LB                      1             DECLARATION OF EMILY BARNET IN
                                                                   SUPPORT OF CIVIL LOCAL RULE 6-2(A)
                                                                                         STIPULATION
